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            EXHIBIT D
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                                                    Tuesday, July 25, 2023 at 22:56:50 Pacific Daylight Time

Subject: Preliminary Constructions for Markman Hearing - 2/16 at 9:30 a.m. -
         WSOU v. Google, No. 572, 580, 584, 585
Date:    Wednesday, February 15, 2023 at 5:47:19 PM Pacific Standard Time
From:    Elizabeth Knuppel
To:      Alexandra Fellowes, Cliff Win, Maclain Wells,
         edwingarcia@jonesday.com, erika@warrenlex.com,
         francesca@warrenlex.com, greg@swclaw.com,
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         mlavine@jonesday.com, mikejones@potterminton.com,
         morgan@pstrials.com, Moses Xie, shaunhassett@potterminton.com,
         Steve Skelley, tglanier@jonesday.com, Timothy Dewberry,
         tastitt@jonesday.com
CC:      Kristie Davis, Michael Schiller
[EXTERNAL] This email originated from outside the organization. Do not click links or open attachments unless you recognize
the sender and know the content is safe.


Counsel,

For the Markman hearing tomorrow at 9:30 a.m. in WSOU v. Google, No. 6:20-cv-572, 580,
584, 585, the Court provides the following preliminary constructions. The parties are welcome
to argue for their originally proposed construction. However, the Court will usually not adopt a
party’s originally proposed construction over the preliminary construction. Instead, the Court
encourages arguments that fine-tune the preliminary constructions. The Court also
encourages the parties to narrow the number of claim terms they wish to argue at the hearing.

Of the below terms, please let me know which terms each side would like to argue by
tomorrow at 8:00 a.m. Each side may email their list separately copying counsel or submit a
joint list. If submitting a joint list, please indicate which party wants to argue each term. Unless
the parties jointly agree on a sequence of terms for argument, the Court will decide the
sequence. Also by tomorrow at 8:00 a.m., please submit any slides the parties which to use
at the Markman hearing (and CC the other side). In addition, the Court will hear the two
pending 101 motions tomorrow. Please let me know by 8:00 a.m. tomorrow whether the
parties would like to argue those motions before or after the Markman.

To assist our court reporter (Kristie Davis, CC’d), please email her a copy of your slides, even
if only a draft, as soon as your slides contain the difficult-to-transcribe words that you might
articulate. When you email the court reporter, there is no need to CC the other side or the
Court.

If you plan to have any younger associates argue, please introduce them when you state your
appearances.

 No.     Claim Term                  Plaintiff’s                   Defendant’s                  The Court’s
                                     Construction                  Construction                 Preliminary

                                                                                                                              1 of 3
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                                                                                 Construction
 1      “Internet Protocol      Plain and ordinary        “An internet service   Plain-and-ordinary
        Television (IPTV)       meaning                   provider (ISP)         meaning
        service”                                          service that
                                                          delivers television
        ’806 Patent                                       content to
                                                          subscribers over a
                                                          private, managed
                                                          Internet Protocol
                                                          (IP) network
                                                          connection”

 2       “incrementing of a     Plain and ordinary        Indefinite             Plain-and-ordinary
        count for a             meaning; not                                     meaning
        stationary state        indefinite
        associated with
        the set of one or
        more distinct
        signal sources at
        the current time”

        ’961 Patent, cl. 1,
        11

 3      “the set of wireless    Plain-and-ordinary        Indefinite             Indefinite
        transmitters”           meaning; not
                                indefinite
        ’961 Patent, cl. 3

 4      “mobile                 Plain-and-ordinary        “a portable device     Plain-and-ordinary
        communication           meaning                   that can               meaning
        device”                                           communicate while
                                                          it is moving”
        ’697 Patent


Thanks,
Beth


Elizabeth Knuppel
Law Clerk to the Honorable Alan D Albright
United States District Court, Western District of Texas

        Join ZoomGov Meeting
        https://txwd-uscourts.zoomgov.com/j/1613131172?
        pwd=ek9WOFZLeHZXalNYVmFOdkJabDJoQT09

        Meeting ID: 161 313 1172
        Passcode: 167817

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           +1 669 216 1590 US (San Jose)
           +1 551 285 1373 US
           +1 646 828 7666 US (New York)
      Meeting ID: 161 313 1172
      Passcode: 167817
      Find your local number: https://txwd-uscourts.zoomgov.com/u/ae3OuAb5i

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      Join by H.323
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      161.199.136.10 (US East)
      Meeting ID: 161 313 1172
Passcode: 167817




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